Case 1:12-cv-01052-SLR      Document 13     Filed 07/16/13   Page 1 of 27 PageID #: 275




                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE


ROBERT FREEDMAN,                        )
                                        )
             Plaintiff,                 )
                                        )
      v.                                )      Civ. No. 12-1052-SLR
                                        )
SUMNER M. REDSTONE, PHILIPPE            )
P. DAUMAN, THOMAS E. DOOLEY,            )
GEORGES. ABRAMS, ALAN C.                )
GREENBERG,SHARIREDSTONE,                )
FREDERIC V. SALERNO, BLYTHE J.          )
MCGARVIE, CHARLES E. PHILLIPS,          )
JR., WILLIAM SCHWARTZ, ROBERT           )
K. KRAFT, and VIACOM INC.,              )
                                        )
             Defendants.                )


Joseph J. Farnan, Ill, Esquire, and Brian Farnan, Esquire of Farnan LLP, Wilmington,
Delaware. Counsel for Plaintiff. Of Counsel: Alexander Arnold Gershon, Esquire,
Michael A. Toomey, Esquire, and Daniel E. Bacine, Esquire of Barrack, Rodos &
Bacine.

Jon Abramczyk, Esquire, and John P. DiTomo, Esquire of Morris, Nichols, Arsht &
Tunnell LLP, Wilmington, Delaware. Counsel for Defendants. Of Counsel: Stuart J.
Baskin, Esquire, and Jaculin Aaron, Esquire of Shearman & Sterling LLP.




                              MEMORANDUM OPINION




Dated: July liD , 2013
Wilmington, Delaware
Case 1:12-cv-01052-SLR       Document 13      Filed 07/16/13    Page 2 of 27 PageID #: 276




~O~udge
I. INTRODUCTION

       Shareholder Robert Freedman ("plaintiff') filed the instant suit against nominal

defendant Viacom Inc. ("Viacom") and the eleven individual members (the "director

defendants") of its board of directors ("the Board"), asserting derivative and direct

claims related to the manner in which Viacom's board, through its compensation

committee ("the Committee"), determined incentive compensation for three senior

executives ("the executives"), who also serve as directors. (0.1. 1) The gravamen of

plaintiff's complaint is that the incentive compensation at issue violated Viacom's 2007

Senior Executive Short-Term Incentive Plan ("the 2007 Plan") and that a similar 2012

Senior Executive Short-Term Incentive Plan ("the 2012 Plan") was subsequently

approved by an invalid shareholder vote.

       Specifically, plaintiff's derivative claim, brought on behalf of Viacom against the

director defendants, alleges breach of fiduciary duty, waste, and unjust enrichment

arising from the committee's implementation of the 2007 Plan and the executives'

acceptance of the allegedly excessive compensation. (/d. at mT 50-53) The direct claim

alleges that shareholder approval of the 2012 Plan was improper under I.R.C. § 162(m)

because only one class of shareholders was permitted to vote on it. (!d. at~~ 54-59)

Plaintiff seeks damages in excess of $36 million on behalf of Viacom; an injunction in

favor of Viacom against the director defendants from paying excessive compensation

under the 2012 Plan; and a new shareholder vote on the 2012 Plan, with the

participation of all Viacom shareholders. (!d. at Prayer for Relief~~ A, 8, C)

       Currently before the court is a motion to dismiss filed by Viacom and the director
Case 1:12-cv-01052-SLR       Document 13      Filed 07/16/13     Page 3 of 27 PageID #: 277




defendants (collectively, "defendants"). (D. I. 5) The motion to dismiss avers that

neither the derivative nor the direct claim states a cause of action under Federal Rule of

Civil Procedure 12(b)(6) and that the derivative claim also fails to meet the pleading

requirements for demand futility under Federal Rule of Civil Procedure 23.1. The court

has jurisdiction over the matter pursuant to 28 U.S.C. §§ 1331, 1332, 1340, and 1367.

II. BACKGROUND

       A. The Parties

       Plaintiff, a citizen of Pennsylvania, avers that he has been a holder of Viacom

class 8 common stock continuously since December 31, 2005. (/d. at~~ 1, 5; D. I. 10)

Plaintiff filed the instant suit against defendants on August 17, 2012.

       Viacom is an entertainment content corporation organized under the laws of the

State of Delaware and with its principal place of business in the State of New York.

(D.I. 1 at~ 4) It is a publicly traded company and, as of July 15, 2012, had outstanding

51,152,571 shares of class A common stock and 463,435,375 shares of class 8

common stock. (/d.) Viacom's certificate of incorporation does not grant class B

common stock any voting power. (/d. at~ 56; D.l. 6, ex. C) The eleven director

defendants- Sumner M. Redstone, Philippe P. Dauman, Thomas E. Dooley, GeorgeS.

Abrams, Alan C. Greenberg, Shari Redstone, Frederic V. Salerno, Blythe J. McGarvie,

Charles E. Phillips, Jr., William Schwartz, and Robert K. Kraft - are all citizens of states

other than Pennsylvania. (D .I. 1 at ~ 1)

       B. The 2007 Plan

       For a publicly held corporation, compensation of the chief executive officer and



                                             2
Case 1:12-cv-01052-SLR          Document 13      Filed 07/16/13    Page 4 of 27 PageID #: 278




the four highest compensated executive officers in excess of $1 million is typically not

tax-deductible; however, I.R.C. § 162(m) provides an exception, under which certain

performance-based compensation is tax deductible. 1 Under I.R.C. § 162(m) and the


       1
           1.R.C. § 162(m) provides, in relevant part:

       ( 1) In general
       In the case of any publicly held corporation, no deduction shall be allowed
       under this chapter for applicable employee remuneration with respect to
       any covered employee to the extent that the amount of such remuneration
       for the taxable year with respect to such employee exceeds $1,000,000.

       (3) Covered employee
       For purposes of this subsection, the term "covered employee" means any
       employee of the taxpayer if-

                 (A) as of the close of the taxable year, such employee is the chief
                 executive officer of the taxpayer or is an individual acting in such a
                 capacity, or

                 (B) the total compensation of such employee for the taxable year
                 is required to be reported to shareholders under the Securities
                 Exchange Act of 1934 by reason of such employee being among
                 the 4 highest compensated officers for the taxable year (other than
                 the chief executive officer).

       (4) Applicable employee remuneration
       For purposes of this subsection -

                 (C) Other performance-based compensation
                 The term "applicable employee remuneration" shall not include any
                 remuneration payable solely on account of the attainment of one or
                 more performance goals, but only if-

                        (i) the performance goals are determined by a
                        compensation committee of the board of directors of the
                        taxpayer which is comprised solely of 2 or more outside
                        directors,

                        (ii) the material terms under which the remuneration is to be
                        paid, including the performance goals, are disclosed to
                        shareholders and approved by a majority of the vote in a

                                                3
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13     Page 5 of 27 PageID #: 279




corresponding Department of Treasury regulations, such performance-based

compensation must be based on the attainment of one or more pre-established,

objective performance goals that are determined by a compensation committee

comprised solely of at least two outside directors. See I.R.C. § 162(m)(4)(C)(i); Treas.

Reg. § 1.162-27(e)(2)(i). "The terms of the objective formula or standard must preclude

discretion to increase the amount of compensation payable that would otherwise be

due upon attainment of the goal." Treas. Reg. § 1.162-27(e)(2)(iii)(A). The terms of the

remuneration must also be disclosed to shareholders and be approved "by a majority of

the vote in a separate shareholder vote." I.R.C. § 162(m)(4)(C)(ii).

       The 2007 Plan was approved by a shareholder vote on May 30, 2007. (D.I. 1 at

,-r 10) Plaintiff avers that, since 2008, Via com has paid annual incentive compensation

under the plan to the executives- Sumner Redstone, Dauman, and Dooley- who are

also directors. (/d. at ,-r,-r 7, 16) According to plaintiff, the 2007 Plan required the

Committee to award tax-deductible compensation under I.R.C. § 162(m) and did not

permit the awarding of compensation that was not tax-deductible. (/d. at ,-r 16) The

members of the Committee were director defendants Salerno, McGarvie, Phillips, Jr.,

and Schwartz. (/d. at ,-r 8) Until August 2009, Kraft was also a member of the

Committee. (/d.)



                      separate shareholder vote before the payment of such
                      remuneration, and

                      (iii) before any payment of such remuneration, the
                      compensation committee referred to in clause (i) certifies
                      that the performance goals and any other material terms
                      were in fact satisfied.

                                               4
Case 1:12-cv-01052-SLR        Document 13      Filed 07/16/13     Page 6 of 27 PageID #: 280




       By its terms, the 2007 Plan required the Committee to establish a "performance

period;" designate the participants for the performance period; select "performance

goals" from a list set forth in Section 2.2(b) of the 2007 Plan; establish specific

"performance targets" for each performance goal selected; and set "target awards" for

each participant. (/d. at   ~~ 16, 17; 0.1. 6, ex. A at§§ 1.2(e), 2.2(a))   Section 2.2(b)

provided the following performance goals from which the Committee could choose:

       OIBOA [or operating income before depreciation and amortization],
       OIBOA Without Intercompany Eliminations, Operating Income, Free Cash
       Flow, Net Earnings, Net Earnings From Continuing Operations, Earnings
       Per Share, Revenue, Net Revenue, Operating Revenue, total shareholder
       return, share price, return on equity, return in excess of cost of capital,
       profit in excess of cost of capital, return on assets, return on invested
       capital, net operating profit after tax, operating margin, profit margin or
       any combination thereof.

(0.1. 1 at~ 16; 0.1. 6, ex. A at§ 2.2(b))

       The Committee was then tasked with certifying, at the end of the performance

period, "whether the performance targets were achieved in the manner required by

[I.R.C. §] 162(m)." (0.1. 6, ex. A at§ 2.4) If the performance targets had been

achieved, "the Awards for such Performance Period shall have been earned except that

the Committee may, in its sole discretion, reduce the amount of any Award to reflect the

Committee's assessment of the Participant's individual performance or for any other

reason." (/d.) The 2007 Plan imposed a limitation on awards, such that awards

granted under it to any individual could not exceed eight times the individual's salary,

"but in no event shall such amount exceed $51.2 million." 2 (/d., ex. A at§ 2.3)



       2
       0r, by the court's calculation (assuming 40-hour work weeks), approximately
$25,600 per hour.

                                              5
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13      Page 7 of 27 PageID #: 281




       Plaintiff avers that, in purporting to follow the 2007 Plan, the Committee selected

performance measures from § 2.2(b ), established a "range" of performance goals for

each of those performance measures, and then set each executive's target award at

"some arbitrary designated point" on the range of performance goals. (0.1. 1 at 1117)

Because the Committee used more than one of the § 2.2(b) performance measures, it

allegedly assigned a weight to each performance measure. (/d. at 1118) Plaintiff claims

that, at the end of each performance period, that weight would be multiplied by the

actual performance to obtain a "weighted percentage point" for each performance

measure. (/d. at 1118) The Committee would then add up those weighted percentage

points to obtain a "total multiplier," which was applied to each executive's target award.

(/d.) According to plaintiff, the actual bonus could be between 25% and 200% of the

target bonus. (/d. at 1117)

       It is alleged that the implementation of the 2007 Plan differed from how it was

supposed to work in theory. (See id. at 111117-22) Between 2008 and 2011, the

Committee allegedly used subjective and discretionary non-financial qualitative factors,

in addition to certain of the objective quantitative factors set forth in § 2.2(b ), to

determine approximately 20% of the bonus awarded to each executive. 3 (/d. at W 19-

20) Between 2009 and 2011, the Committee allegedly committed further wrongdoing

by using "positive discretion" to provide additional compensation based on the


       3
        Piaintiff maintains that these qualitative factors included "the extent to which the
Committee, in its discretion, found that the performance targets were met in ways that
related to the fundamentals of the business and furthered [Viacom's] long-term
interests as well as the appropriateness of excluding unusual expenses or impacts on
financial results ... , which the Committee believed had the effect of distorting the
performance goals." (0.1. 1 at 1120)

                                                6
Case 1:12-cv-01052-SLR        Document 13        Filed 07/16/13     Page 8 of 27 PageID #: 282




performance of each executive in subjective areas. (/d. at ,-r 21) These subjective

areas allegedly included "leadership and vision, continuing to navigate economic

challenges, continuing to foster a diverse and inclusive corporate culture, continuing to

enhance the legal function across Viacom and its divisions, and achieving success in ..

. risk management and technology responsibilities." (/d.) Plaintiff avers that

"subjectivity pervade[ d) this bonus calculation in other ways as well," including one

executive, Dauman, making specific bonus recommendations for another executive,

Dooley. (/d. at ,-r,-r 7, 22) Plaintiff asserts that the committee's use of subjective factors

to determine bonuses between 2008 and 2011 and to upwardly adjust bonuses

between 2009 and 2011 resulted in a total of $36,645,750 in excess compensation and

violated both the 2007 Plan and I.R.C. § 162(m). (/d. at ,-r,-r 19, 24-46)

       C. The 2012 Plan

       Pursuant to Department of Treasury regulation§ 1.162-27(e)(4)(vi), which

required stockholder reapproval of the 2007 Plan every five years, Viacom

subsequently sought stockholder approval of the 2012 Plan at its 2012 annual meeting.

(/d. at ,-r 55; D. I. 6, ex. B) Plaintiff contends that the 2012 Plan is substantially identical

to the 2007 Plan and that "[t]he Board's purpose of seeking shareholder approval of the

2012 Plan was to allow compensation paid pursuant to awards made after the 2012

annual meeting to continue to be tax deductible ... as 'performance based

compensation' pursuant to I.R.C. § 162(m)." (D.I. 1 at ,-r,-r 10, 55) Although class B

shareholders were given notice of Viacom's 2012 annual meeting and were allowed to

attend, only class A shareholders were permitted to vote on the 2012 Plan. (/d. at ,-r 56;



                                                7
Case 1:12-cv-01052-SLR           Document 13       Filed 07/16/13      Page 9 of 27 PageID #: 283




0.1. 6, ex. B) Plaintiff avers that, because director Sumner Redstone directly or

indirectly owned 79.5% of the class A shares, "passage of the 2012 Plan was assured,"

regardless of what the other shareholders, including class B shareholders, wanted.

(0.1. 1 at~ 57)

Ill. STANDARD OF REVIEW

       A. Federal Rule of Civil Procedure 23.1

       Pursuant to Federal Rule of Civil Procedure 23.1 (b )(3), a shareholder bringing a

derivative action must file a verified complaint that "state[s] with particularity:"

       (A) any effort by the plaintiff to obtain the desired action from the directors
       or comparable authority and, if necessary, from the shareholders or
       members; and

       (B) the reasons for not obtaining the action or not making the effort.

Fed. R. Civ. P. 23.1(b)(3). Therefore, Rule 23.1 provides a heightened pleading

standard. "Although Rule 23.1 provides the pleading standard for derivative actions in

federal court, the substantive rules for determining whether a plaintiff has satisfied that

standard 'are a matter of state law."' King v. Baldino, 409 F. App'x 535 (3d Cir. 201 0)

(citing Blasband v. Ra/es, 971 F.2d 1034, 1047 (3d Cir. 1992)). "Thus, federal courts

hearing shareholders' derivative actions involving state law claims apply the federal

procedural requirement of particularized pleading, but apply state substantive law to

determine whether the facts demonstrate [that] demand would have been futile and can

be excused." 4 Kantor v. Barella, 489 F.3d 170, 176 (3d Cir. 2007).

       In this regard, the Delaware Supreme Court has explained that
       the entire question of demand futility is inextricably bound to issues of


       4
           Piaintiff's derivative claim in this action is a state law claim.

                                                  8
Case 1:12-cv-01052-SLR       Document 13       Filed 07/16/13    Page 10 of 27 PageID #: 284




        business judgment and the standard of that doctrine's applicability.... It
        is a presumption that in making a business decision the directors of a
        corporation acted on an informed basis, in good faith and in the honest
        belief that the action taken was in the best interests of the company.

 Aronson v. Lewis, 473 A.2d 805,812 (Del. 1984), overruled on other grounds by Brehm

 v. Eisner, 7 46 A.2d 244, 253-54 (Del. 2000). "The key principle upon which this area of

 ... jurisprudence is based is that the directors are entitled to a presumption that they

 were faithful to their fiduciary duties." Beam ex. ref. Martha Stewart Living Omnimedia,

 Inc. v. Stewart, 845 A.2d 1040, 1048 (Del. 2004 ). Therefore, the burden is on the party

 challenging a board's decision to establish facts rebutting the presumption that the

 business judgment rule applies. Levine v. Smith, 591 A.2d 194, 205-06 (Del. 1991 ).

        By promoting the exhaustion of intracorporate remedies as an alternate dispute

 resolution over immediate recourse to litigation, "the demand requirement is a

 recognition of the fundamental precept that directors manage the business and affairs

 of corporations." Aronson, 473 A.2d at 811-12. With this framework in mind, the

 Delaware Supreme Court has characterized the exercise of determining demand futility

 as deciding whether, under the particularized facts alleged, a reasonable doubt is

 created that (1) "the directors are disinterested and independent," or (2) "the challenged

 transaction was otherwise the product of a valid exercise of business judgment." /d. at

 814; see also Brehm, 746 A.2d at 256 ("These prongs are in the disjunctive. Therefore,

 if either prong is satisfied, demand is excused."). "The spirit that clearly animates [this]

 test is a [c]ourt's unwillingness to set aside the prerogatives of a board of directors

 unless the derivative plaintiff has shown some reason to doubt that the board will

 exercise its discretion [in responding to demand] impartially and in good faith." In re


                                               9
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13     Page 11 of 27 PageID #: 285




 infoUSA, Inc. v. S'holders Litig., 953 A.2d 963, 986 (Del. Ch. 2007).

        B. Federal Rule of Civil Procedure 12(b)(6)

        A motion filed under Federal Rule of Civil Procedure 12(b)(6) tests the

 sufficiency of a complaint's factual allegations. Bell At/. Corp. v. Twombly, 550 U.S.

 544, 555; Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). A complaint must

 contain "a short and plain statement of the claim showing that the pleader is entitled to

 relief, in order to give the defendant fair notice of what the ... claim is and the grounds

 upon which it rests." Twombly, 550 U.S. at 545 (internal quotation marks omitted)

 (interpreting Fed. R. Civ. P. 8(a)). Consistent with the Supreme Court's rulings in

 Twombly and Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Third Circuit requires a two-

 part analysis when reviewing a Rule 12(b)(6) motion. Edwards v. A. H. Cornell & Son,

 Inc., 610 F.3d 217,219 (3d Cir. 2010); Fowler v. UPMC Shadyside, 578 F.3d 203, 210

 (3d Cir. 2009). First, a court should separate the factual and legal elements of a claim,

 accepting the facts and disregarding the legal conclusions. Fowler, 578 F.3d. at 210-

 11. Second, a court should determine whether the remaining well-pled facts sufficiently

 show that the plaintiff "has a 'plausible claim for relief."' /d. at 211 (quoting Iqbal, 556

 U.S. at 679). As part of the analysis, a court must accept all well-pleaded allegations in

 the complaint as true, and view them in the light most favorable to the plaintiff. See

 Erickson v. Pardus, 551 U.S. 89, 94 (2007); Christopher v. Harbury, 536 U.S. 403, 406

 (2002); Phillips v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008). A court may

 consider the pleadings, public record, orders, exhibits attached to the complaint, and

 documents incorporated into the complaint by reference. Tellabs, Inc. v. Makar Issues



                                               10
Case 1:12-cv-01052-SLR         Document 13      Filed 07/16/13    Page 12 of 27 PageID #: 286




 & Rights, Ltd., 551 U.S. 308, 322 (2007); Oshiver v. Levin, Fishbein, Sedran & Berman,

 38 F.3d 1380, 1384-85 n.2 (3d Cir. 1994).

          The court's determination is not whether the non-moving party "will ultimately

 prevail" but whether that party is "entitled to offer evidence to support the claims."

 United States ex ref. Wilkins v. United Health Grp., Inc., 659 F.3d 295, 302 (3d Cir.

 2011 ). This "does not impose a probability requirement at the pleading stage," but

 instead "simply calls for enough facts to raise a reasonable expectation that discovery

 will reveal evidence of [the necessary element]." Phillips, 515 F.3d at 234 (quoting

 Twombly, 550 U.S. at 556). The court's analysis is a context-specific task requiring the

 court "to draw on its judicial experience and common sense." Iqbal, 556 U.S. at 663-

 64.

 IV. DISCUSSION

          A. The Derivative Claim

          Defendants move to dismiss the derivative claim for failure to sufficiently plead

 that demand would be futile under Rule 23.1 and for failure to state a claim under Rule

 12(b)(6). Plaintiff admittedly did not make any pre-litigation demand on the Board to

 bring suit, but contends that demand is excused as futile under Delaware law. (D. I. 1 at

 ,-r,-r 47-49)

                 1. Demand futility under Rule 23.1

                       a. Director disinterestedness and independence

          Under the first prong of Aronson, if the factual allegations raise a reasonable

 doubt that a majority of the board consists of disinterested and independent directors,



                                               11
Case 1:12-cv-01052-SLR         Document 13       Filed 07/16/13     Page 13 of 27 PageID #: 287




then the protections of the business judgment rule are not available to the board.

Aronson, 473 A.2d at 814-15. There are two ways a director can be deemed

 "interested" in a transaction. First, "[a] director is interested if he will be materially

 affected, either to his benefit or detriment, by a decision of the board, in a manner not

 shared by the corporation and the stockholders." Seminaris v. Landa, 662 A.2d 1350,

 1354 (Del. Ch. 1995); see also Orman v. Cullman, 794 A.2d 2, 25 n.50 (Del. Ch. 2002).

 Materiality is assessed based on a particular director's financial circumstances. Orman,

 794 A.2d at 23. The second occurs where "a director stands on both sides of the

 challenged transaction;" this latter way of showing interested ness does not require

 allegations of materiality. /d. at 25 n.50. In contrast, "[i]ndependence means that a

 director's decision is based on the corporate merits of the subject before the board

 rather than extraneous considerations or influences." Aronson, 473 A.2d at 816. A

 director's independence may be challenged by "allegations that raise a reasonable

 inference that a given director is dominated through a 'close personal or familial

 relationship or through force of will,' or is so beholden to an interested director that his

 or her 'discretion would be sterilized."' In re infoUSA, 953 A.2d at 985 (quoting Orman,

 794 A.2d at 25 n.50; Beam, 845 A.2d at 1050).

        Plaintiff's complaint alleges that a majority- six out of eleven -of the directors

 are interested and not independent. (D.I. 1 at ,-r 49) Specifically, he avers that the

 three executives- Sumner Redstone, Dauman, and Dooley- are interested because

 they received the allegedly improper compensation at issue; director defendants

 Abrams and Shari Redstone are not independent because Viacom disclosed them as



                                                12
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13    Page 14 of 27 PageID #: 288




 such in its 2012 proxy statement; and director defendant Greenberg is interested and

 not independent because he is "a long-time close personal friend of and adviser to

 [executive] Sumner Redstone." (/d. at 1f49; see D. I. 6, ex. Bat 7-8)

         For purposes of the motion to dismiss, defendants do not dispute that five of

 those director defendants- Sumner Redstone, Dauman, Dooley, Abrams, and Shari

 Redstone- are interested and not independent. (D. I. 6 at 9) However, defendants

 challenge plaintiff's allegation that Greenberg is interested and not independent. (/d. at

 9-11)

                              (1) Collateral estoppel

         As a threshold matter, plaintiff avers that collateral estoppel, or issue preclusion,

 bars defendants from contesting Greenberg's alleged lack of independence in the

 instant action. A prior decision, In re Viacom Inc. Shareholder Derivative Litigation, Civ.

 No. 206527/05, 2006 N.Y. Misc. LEXIS 2891, at *10-12 (N.Y. Sup. June 23, 2006),

 allegedly determined that Greenberg was not an independent director. (D. I. 1 at 1f49)

 Defendants at bar argue that In re Viacom should not be given any preclusive effect

 because the New York Supreme Court did not hold, as a factual or legal matter, that

 Greenberg was an interested director. (D.I. 11 at 2-3)

         The court must give a state court decision the same full faith and credit that it

 would enjoy in that state's courts. 28 U.S.C. § 1738. 5 Plaintiff contends (and

 defendants do not dispute) that the applicability of collateral estoppel in the instant case


         5
         28 U.S.C. § 1738 provides, in part, that authenticated judicial proceedings "shall
 have the same full faith and credit in every court within the United States and its
 Territories and Possessions as they have by law or usage in the courts of such State,
 Territory or Possession from which they are taken."

                                               13
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13    Page 15 of 27 PageID #: 289




 should be governed by New York law. (See D. I. 8 at 6; D.l. 11 at 2-3) Under New York

 law, there are two requirements for collateral estoppel to apply: (1) "[t]here must be an

 identity of issue which has necessarily been decided in the prior action and is decisive

 of the present action;" and (2) "there must have been a full and fair opportunity to

 contest the decision now said to be controlling." Buechel v. Bain, 766 N.E.2d 914, 919

 (N.Y. 2001) (citation omitted); see also Bansbach v. Zinn, 801 N.E.2d 395, 401 (N.Y.

 2003) ("Where a pending issue was raised, necessarily decided and material in a prior

 action, and where the party to be estopped had a full and fair opportunity to litigate the

 issue in the earlier action, fairness and efficiency dictate that the party should not be

 permitted to try the issue again." (citation omitted)).

        In In re Viacom, plaintiff shareholders brought a derivative suit against Viacom's

 Board, claiming that the compensation paid to three Viacom executive officers was

 excessively high. The plaintiffs asserted that demand was excused as futile because at

 least half of a board of twelve directors was interested and not independent. As in the

 instant case, the defendants did not dispute that five of Viacom's directors were

 interested and not independent. They moved to dismiss the derivative action under

 Rule 23.1 by arguing that the plaintiffs had failed to sufficiently plead particularized facts

 to raise a reasonable doubt that three other directors, including Greenberg, were

 disinterested and independent. In re Viacom, 2006 N.Y. Misc. LEXIS 2891 at *3, *1 0-

 15. The complaint in that case contained allegations that Greenberg, as Sumner

 Redstone's investment banker, had advised Sumner Redstone directly on two large

 acquisitions- a 1993 acquisition of Paramount Communications, Inc. and a 1994

 acquisition of Blockbuster, Inc.; that Greenberg and his firm, Bear Stearns, had advised

                                               14
Case 1:12-cv-01052-SLR        Document 13      Filed 07/16/13     Page 16 of 27 PageID #: 290




 Sumner Redstone and Viacom in 2004 on the unwinding of the Blockbuster, Inc.

 acquisition; and that Greenberg continued to provide broker and investment services to

 both Sumner Redstone and Viacom. /d. at *6, *11-12.

        Based on the plaintiffs' factual allegations, the New York Supreme Court

 concluded: "The fact that Greenberg advised Redstone in his personal affairs in two

 large acquisitions [and] provided services and continues to provide services to Viacom

 is sufficient to create a reasonable doubt as to his ability to evaluate plaintiffs' demand

 without a taint of interest, extraneous considerations, or influences." /d. at *11-12

 (citation omitted). The New York Supreme Court, therefore, denied the Rule 23.1

 motion to dismiss, finding that "plaintiffs ha[d] fulfilled their burden to escape the

 demand requirement by sufficiently pleading that a reasonable doubt exist[ed] that

 Greenberg was interested in the decision concerning the executives' compensation

 packages." 6 /d. at *12.

        Plaintiff correctly points out that the disinterestedness or independence of

 Greenberg was challenged in In re Viacom. However, the court is not persuaded that In

 re Viacom should be given preclusive effect. In Bansbach, the Court of Appeals of New

 York was faced with a similar collateral estoppel question. That court declined to give

 preclusive effect to an earlier case, Lichtenberg v. Zinn, 687 N.Y.S.2d 817 (N.Y. App.

 Div. 1999), in which the court had previously rejected the argument that three directors


        6
         The court notes that the New York Supreme Court's focus on "taint of interest,
 extraneous considerations, or influences" seemed to focus on Greenberg's
 independence (which relates to extraneous or outside influences) rather than his
 disinterestedness (which relates to whether a director was materially affected by, or
 stood on both sides of, a transaction). See Orman, 794 A.2d at 25 n.50 (distinguishing
 between independence and disinterestedness).

                                               15
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13     Page 17 of 27 PageID #: 291




 - the same three whose interested ness was being challenged in Bansbach - were

 "interested" due to prior personal relationships and business dealings. Bansbach, 801

 N.E.2d at 401-02. It reasoned that Lichtenberg- an action that was filed four years

 before the Bansbach action was commenced - "d[id] not for all time and in all

 circumstances insulate [the three directors'] conduct from similar claims." /d. at 402. In

 addition, unlike in Lichtenberg, the three directors were being personally implicated in

 Bansbach and had been named as defendants. Therefore, the Bansbach court found

 that there was no identity of issue, and collateral estoppel did not apply. /d.

        In the instant case, the court shares several concerns that the Bansbach court

 raised about applying collateral estoppel to bar argument of director disinterestedness

 and independence. First, the instant case was filed in 2012 and challenges board

 decisions made between 2008 and 2011, whereas In re Viacom was filed in 2005. Just

 as a director may not be forever insulated from suit, a prior determination that a director

 is interested or lacks independence does not, "for all time and in all circumstances,"

 necessarily subject his conduct to liability for similar claims. /d. It is possible that the

 relationship between Greenberg and Sumner Redstone has changed in the years since

 the filing of In re Viacom. 7 Second, In re Viacom was based on the pleadings, not on

 any affidavits or other materials evidencing Greenberg's disinterestedness or

        7
          Demand is made against the board of directors at the time of filing of the
 complaint. See In re infoUSA, 953 A.2d at 985. Although, in answering the motion to
 dismiss, plaintiff asserts that the relationship between Greenberg and Sumner
 Redstone has not changed in the time since the filing of In re Viacom (see D.l. 8 at 6),
 at this stage of the proceedings, the court can only consider the well-pleaded factual
 allegations set forth in the complaint, not allegations raised in briefing. See Barkes v.
 First Correctional Med., Civ. No. 06-104, 2010 WL 1418347, at *2 (D. Del. Apr. 7,
 2010).

                                               16
Case 1:12-cv-01052-SLR        Document 13      Filed 07/16/13     Page 18 of 27 PageID #: 292




 independence. See In re Viacom, 2006 N.Y. Misc. LEXIS 2891, at *11-12. In other

words, the decision to allow In re Viacom to proceed was a preliminary holding, not a

final one, based solely on the plaintiffs' particularized factual pleadings (presumed to be

true) versus substantive evidence. 8 Defendants can only be said to have had the

opportunity to contest whether the plaintiffs in that action had sufficiently pled a

 reasonable doubt as to Greenberg's disinterestedness. Therefore, there is no identity

 of issue, and Greenberg's disinterestedness was not actually decided, as a matter of

 fact or law, in the prior action. In re Viacom carries no preclusive effect under the

 doctrine of collateral estoppel.

                             (2) Factual allegations at bar

        As collateral estoppel is inapplicable, the court turns to the sufficiency of the

 complaint at bar. Under Delaware law, "[i]ndependence is a fact-specific determination

 made in the context of a particular case." Beam, 845 A.2d at 1049. The sole factual

 allegation regarding Greenberg in the complaint at bar is that he is "a long-time

 personal friend of and advisor to Sumner Redstone." (D.I. 1 at ,-r 49) However, as the

 Delaware Supreme Court has reasoned, although

        [a] variety of motivations, including friendship, may influence the demand
        futility inquiry ... , to render a director unable to consider demand, a
        relationship must be of a bias-producing nature. Allegations of mere
        personal friendship or a mere outside business relationship, standing
        alone, are insufficient to raise a reasonable doubt about a director's
        independence.

 Beam, 845 A.2d at 1050. The Delaware Supreme Court in Beam more specifically held



        8
        The only judgment that the New York Supreme Court entered was one
 approving a subsequent settlement in the case. (See D. I. 11, ex. A)

                                              17
Case 1:12-cv-01052-SLR         Document 13       Filed 07/16/13     Page 19 of 27 PageID #: 293




that "allegations that [interested director Martha] Stewart and the other directors moved

in the same social circles, attended the same weddings, developed business

 relationships before joining the board, and described each other as 'friends,' even when

coupled with Stewart's 94% voting power, are insufficient, without more, to rebut the

 presumption of independence." /d. at 1051.

          Plaintiff at bar has pled even less factual detail than the allegations at issue in

 Beam. Standing alone, plaintiff's allegation that Greenberg is a close friend and advisor

to an interested director defendant does not create a reasonable doubt that Greenberg

would have been "beholden" to another director. Therefore, plaintiff's allegations of

 interestedness and lack of independence are insufficient to render prelitigation demand

futile.

                        b. Exercise of valid business judgment

          Because the court finds that plaintiff has failed to raise any reasonable doubt

 that a majority of the Board was disinterested and independent under Aronson's first

 prong, the demand futility analysis turns on Aronson's second prong -whether the

 complaint pleads with particularity facts sufficient to create a reasonable doubt that the

 challenged transaction was the product of a valid exercise of business judgment.

 "Approval of a transaction by a majority of independent, disinterested directors almost

 always bolsters a presumption that the business judgment rule attaches [so,] [i]n such

 cases, a heavy burden falls on a plaintiff to avoid presuit demand." See Grabow v.

 Perot, 539 A.2d 180, 190 (Del. 1988), overruled on other grounds by Brehm, 746 A.2d

 244. The second prong focuses on the substantive nature of the board's action.



                                                18
Case 1:12-cv-01052-SLR       Document 13      Filed 07/16/13    Page 20 of 27 PageID #: 294




Pogostin v. Rice, 480 A.2d 619, 624 (Del. 1984 ), overruled on other grounds by Brehm,

746 A.2d 244.

       The court begins its analysis by presuming that the business judgment rule

 applies, and that plaintiff has to establish facts rebutting this presumption. Aronson,

 473 A.2d at 812. The business judgment rule applies, however, "only when the terms

 of [the shareholder-approved plan] at issue are adhered to." Weiss v. Swanson, 948

 A.2d 433, 441 (Del. Ch. 2008). "A board's knowing and intentional decision to exceed

 the shareholders' grant of express (but limited) authority raises doubt regarding whether

 such decision is a valid exercise of business judgment and is sufficient to excuse a

 failure to make demand." Ryan v. Gifford, 918 A.2d 341, 354 (Del. Ch. 2007); see a/so

 Weiss, 948 A.2d at 441 ("[A] !legations in a complaint rebut the business judgment rule

 where they support an inference that the directors intended to violate the terms of

 stockholder-approved option plans.").

        Plaintiff submits that the Board's award of the compensation at issue is not

 protected by the business judgment rule because the Board authorized payments that

 were contrary to the terms of the 2007 Plan and I.R.C. § 162(m). (D.I. 1 at~~ 16, 19-

 46, 48) The parties at bar agree that the 2007 Plan and I.R.C. § 162(m) limit the use of

 subjective and qualitative factors- namely, that they cannot be used as performance

 goals or used to upwardly adjust earned bonus awards. (See id. at~ 12; D.l. 6 at 12-

 13; D.l. 11 at 5-6) The parties also agree that the Committee used subjective and

 qualitative factors in the process of awarding compensation. They disagree about

 whether, in doing so, the Committee exceeded its authority under the 2007 Plan. (D.I.



                                             19
Case 1:12-cv-01052-SLR           Document 13    Filed 07/16/13      Page 21 of 27 PageID #: 295




6 at 5-6; D. I. 11 at 5-8) Plaintiff alleges that the Committee "wrongfully arrogated to

itself ... positive discretion to provide additional compensation" such that "[t]he conduct

of the Directors in authorizing the Executives' excessive compensation ... in

 contravention of the 2007 Plan ... [wa]s not the product of a valid exercise of business

judgment." (D. I. 1 at mf21, 23, 52) Defendants contend that the Committee used

 subjective and qualitative factors only to downwardly adjust the compensation awards.

 (D. I. 6 at 5-6; D. I. 11 at 5-8)

         Assuming plaintiff's allegations to be true- that the effect of the Committee's

 use of subjective factors was an overreach of its limited discretion - plaintiff still falls

 short of the rule promulgated in Weiss and Ryan that, for demand to be excused under

 the second prong based on a board's violation of a shareholder-approved plan, the

 allegations must support an inference that said violation was made knowingly and

 intentionally. Plaintiff at bar has not alleged that the Committee made a knowing and

 intentional decision to violate the terms of the 2007 Plan. The complaint contains no

 factual particularity regarding the Committee's knowledge or intent and, as such, does

 not raise a reasonable doubt that the Committee acted with a good faith belief that it

 was acting in Viacom's best interests and within the discretionary authority granted to it

 by the 2007 Plan. Accordingly, the court does not find that plaintiff's allegations, under

 Weiss and Ryan, are sufficient to rebut the presumption of the business judgment rule.

         Plaintiff argues that in Sanders v. Wang, Civ. No. 16640, 1999 WL 1044880

 (Del. Ch. Nov. 8, 1999), "[t]he court excused demand because the board had exceeded

 a clear limitation contained in [an express provision], without further addressing the



                                               20
Case 1:12-cv-01052-SLR        Document 13      Filed 07/16/13     Page 22 of 27 PageID #: 296




 board's knowledge [or] intent .... " (D.I. 8 at 9) (citations omitted) (internal quotation

 marks omitted) In Sanders, the Delaware Court of Chancery held that demand was

futile where the "board c[ould] not justify its clear violation of the express terms of the

 [plan] nor ... justify the unauthorized share awards under any other legal authority."

 Sanders, 1999 WL 1044880, at *6. The Sanders court was careful to point out that it

 was dealing with a violation so undeniable that "under the undisputed facts in th[e]

 case, no matter how favorably [the court] draw[s] factual inferences in favor of the

 defendants, ... plaintiffs have established a prima facie case that the ... board

 exceeded its authority." /d. Although the Sanders court did not mention whether or not

 the plaintiffs alleged a knowing or intentional violation, it appears that the challenged

 transaction was such a clear and undisputed violation, that violation, alone, created a

 reasonable doubt that the board acted without knowledge. See id. at *5 ("[T]he

 provision ... [wa]s not ambiguous and it [was] clear from the uncontroverted facts that

 the number of shares the board actually awarded exceeded its limitation of six million

 shares"); see a/so Landy v. D'Aiessandro, 316 F. Supp. 2d 49, 65-66 (D. Mass. 2004)

 (discussing the import of Sanders).

        The instant case is distinguishable from Sanders. The uncontroverted facts only

 establish that the 2007 Plan limited the Committee's use of subjective factors in

 determining compensation awards and that the Committee, at some point in the

 process of setting or determining compensation, considered subjective factors. Given

 the express authority for the Committee to downwardly adjust compensation and




                                              21
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13    Page 23 of 27 PageID #: 297




 possibly exercise other discretion using subjective factors, 9 there is no clear and

 undisputed violation, let alone a violation that, standing alone, would create a

 reasonable doubt that the Board acted without knowledge or intent.

        Therefore, the court concludes that plaintiff has not sufficiently alleged, under the

 heightened pleading standard of Rule 23.1, facts that create a reasonable doubt that

 the challenged actions were otherwise the product of a valid exercise of business

judgment. Demand is not excused. The court grants defendants' motion to dismiss in

 this regard and need not address defendants' arguments for dismissal of the derivative

 claim under Rule 12(b)(6).

        B. The Direct Claim

        The court next analyzes the direct claim, which defendants move to dismiss

 pursuant to Rule 12(b )(6) for failure to state a claim. Plaintiff's direct claim is premised

 on his position that I.R.C. § 162(m)(4)(C)(ii) "requires all shareholders to have a vote on

 plans providing for tax-deductible compensation under I.R.C. § 162(m)." (D.I. 1 at~ 58)

 Defendants argue that I.R.C. § 162(m) is entirely silent on which shareholders are

 permitted to vote and that Congress did not intend the provision to implicitly preempt

 Delaware corporate governance statutes. (D.I. 6 at 16-20; D.l. 11 at 10)

        For purposes of the direct claim, there are no disputed material facts. The issue

 may be summarized as the legal question of whether I.R.C. § 162(m)(4)(C)(ii)'s voting

 requirement preempts Delaware state law allowing for classes of non-voting stock.



        9
         Section 2.4 of the 2007 Plan provided that the Committee "may, in its sole
 discretion, reduce the amount of any Award to reflect the Committee's assessment of
 the Participant's individual performance or for any other reason." (D.I. 6, ex. A at§ 2.4)

                                              22
Case 1:12-cv-01052-SLR         Document 13     Filed 07/16/13     Page 24 of 27 PageID #: 298




Plaintiff posits that, because I.R.C. § 162(m)(4)(C)(ii) "simply requires 'a shareholder

vote' without further reference to holders of 'voting stock' or 'stock entitled to vote,'"

Viacom's non-voting class B shareholders should have been permitted to vote on the

2012 Plan. (D. I. 1 at ,-r 56) Delaware corporate governance law, meanwhile, permits

corporations to offer voting and non-voting classes of stock:

       Every corporation may issue 1 or more classes of stock ... which classes
       or series may have such voting powers, full or limited, or no voting
       powers, and such designations, preferences and relative, participating,
       optional or other special rights, and qualifications, limitations or
       restrictions thereof, as expressly vested in it by the provisions of its
       certificate of incorporation.

8 Del. C. § 151 (a). Plaintiff argues that I.R.C. § 162(m)(4)(C)(ii) preempts Delaware law

 because "voting on a compensation plan in order that it provide tax deductible

compensation is a matter of federal law concerning U.S. income taxes, an exclusive

federal matter." (D. I. 1 at ,-r 56)

       The "ultimate touchstone" in a preemption case is the purpose of Congress.

 Wyeth v. Levine, 555 U.S. 555, 565 (2009) (quoting Medtronic, Inc. v. Lohr, 518 U.S.

 470, 485 (1996)) (internal quotation marks omitted). "In areas of traditional state

 regulation, we assume that a federal statute has not supplanted state law unless

 Congress has made such an intention clear and manifest." Bates v. Dow Agrosciences

 LLC, 544 U.S. 431, 449 (2005) (citation omitted) (internal quotation marks omitted); see

 a/so Wyeth, 555 U.S. at 565 ('"In all pre-emption cases, and particularly in those in

 which Congress has legislated ... in a field which the States have traditionally occupied

 ... we start with the assumption that the historic police powers of the States were not to

 be superseded by the Federal Act unless that was the clear and manifest purpose of


                                              23
Case 1:12-cv-01052-SLR        Document 13       Filed 07/16/13     Page 25 of 27 PageID #: 299




Congress."' (quoting Lohr, 518 U.S. at 485)). 10

        Plaintiff's assertion that I.R.C. § 162(m) occupies the field of federal taxation- a

matter of federal law and, therefore, must prevail, even with respect to the voting rights

of shareholders- is unpersuasive. The United States Supreme Court has recognized

that "[n]o principle of corporation law and practice is more firmly established than a

State's authority to regulate domestic corporations, including the authority to define the

voting rights of shareholders." CTS Corp. v. Dynamics Corp. of Am., 481 U.S. 69, 88

 ( 1987) (citation omitted). Plaintiff offers no support for the proposition that it was the

 clear and manifest purpose of Congress for I.R.C. § 162(m)(4)(C)(ii) to preempt state

 law regarding shareholder voting powers for the specific purpose of approving plans for

tax-deductible compensation. Rather, plaintiff proposes the opposite logic- that

 because Congress did not clearly limit I.R.C. § 162(m)(4)(C)(ii) to voting classes of




        10
         Piaintiff points to Crosby v. National Foreign Trade Council, 530 U.S. 363, 372-
 73 (2000), in which the United States Supreme Court stated:

        [E]ven if Congress has not occupied the field, state law is naturally
        preempted to the extent of any conflict with a federal statute. We will find
        preemption where it is impossible for a private party to comply with both
        state and federal law, and where under the circumstances of [a] particular
        case, [the challenged state law] stands as an obstacle to the
        accomplishment and execution of the full purposes and objective of
        Congress.

(alterations in original) (citations omitted) (internal quotation marks omitted). However,
8 Del. C. § 151 (a) does not "conflict" with I.R.C. § 162(m)(4)(C)(ii) such that it would be
impossible for a private party to comply with both. Rather, the provision of 8 Del. C.
§ 151 (a) at issue is permissive (a corporation "may" issue different classes of stock with
different voting rights) and does not require any type of compliance. Therefore, 8 Del.
C. § 151 (a) does not stand as a sufficient obstacle to the accomplishment and
execution of Congress' full objectives under I.R.C. § 162(m).

                                               24
Case 1:12-cv-01052-SLR        Document 13      Filed 07/16/13     Page 26 of 27 PageID #: 300




stock, the provision must include all shareholders. 11 (See D. I. 1 at~ 56; D. I. 8 at 16-18)

Although plaintiff also purports to rely on legislative history, the only passage he cites-

that "the compensation must be approved by a majority of shares voting in a separate

 vote" (see D. I. 1 at~ 14; D. I. 8 at 18)- does not demonstrate that Congress

 emphasized the importance of a vote including all shareholders, only that Congress

 intended to require majority approval by only the "shares voting." 12 Absent any

 indication of a clear and manifest purpose to the contrary, the court is unpersuaded that

 Congress intended I.R.C. § 162(m)(4)(C)(ii) to meddle in matters of corporate

 governance.

        The court's conclusion that I.R.C. § 162(m)(4)(C)(ii) does not preempt Delaware

 corporate governance law is supported by the Department of Treasury regulations that

 are applicable to I.R.S. § 162(m). The regulations do not indicate that the shareholder

 vote must include every shareholder, regardless of the class of stock. Rather, the

 regulations require a majority "of the votes cast on the issue" and explicitly give

 deference to state law with respect to how abstentions count in a vote: "[T]he material

 terms of a performance goal are approved by shareholders if, in a separate vote, a

 majority of the votes cast on the issue (including abstentions to the extent abstentions

 are counted as voting under applicable state law) are cast in favor of approval." 13


        11
         For example, plaintiff argues that the I.R.C.'s definitions of "stock" and
 "shareholder" do not state any voting requirements. (See D. I. 1 at~ 56)
        12
           Shareholders are on notice of the voting rights of their class of stock, as set
 forth in a corporation's charter or by-laws.
        13
         ln the preamble to the amended proposed regulations, the Internal Revenue
 Service ("IRS") explained the reasoning behind the wording of Tres. Reg. § 1.162-

                                              25
Case 1:12-cv-01052-SLR        Document 13      Filed 07/16/13    Page 27 of 27 PageID #: 301




Treas. Reg.§ 1.162-27(e)(4)(vii). Therefore, the IRS itselfunderstoodthevoteto be

 among the voting shares and intended to respect the different voting rights that a

 company's charter may accord different classes of stock.

          Because I.R.C. § 162(m)(4)(C)(ii) does not preempt state corporate governance

 law, the court grants defendants' motion to dismiss as it relates to the direct claim.

 V. CONCLUSION

          For the foregoing reasons, the court grants defendants' motion to dismiss with

 respect to both the derivative and direct claims. An appropriate order shall issue.




 27( e)( 4 )(vii):

          Under Sec. 1.162-27(e)(4)(vii), the material terms of a performance goal
          are considered approved by shareholders if, in a separate vote,
          affirmative votes are cast by a majority of the voting shares. In order to
          reflect the fact that certain shares may have more than one vote, and to
          properly deal with abstentions, that section is amended to provide that the
          material terms of a performance goal are considered approved by
          shareholders if, in a separate vote, a majority of the votes cast on the
          issue (including abstentions to the extent abstentions are counted as
          voting under applicable state law) are cast in favor of approval.

 Disallowance of Deductions for Employee Remuneration in Excess of $1,000,000, 59
 Fed. Reg. 231 (proposed Dec. 2, 1994) (codified at 26 C.F.R. § 1.162-17) (emphasis
 added).

                                              26
